Case 1:22-cv-02234-EK-LB   Document 113 Filed 10/31/24   Page 1 of 5 PageID #:
                                    7001
Case 1:22-cv-02234-EK-LB   Document 113 Filed 10/31/24   Page 2 of 5 PageID #:
                                    7002
Case 1:22-cv-02234-EK-LB   Document 113 Filed 10/31/24   Page 3 of 5 PageID #:
                                    7003
Case 1:22-cv-02234-EK-LB   Document 113 Filed 10/31/24   Page 4 of 5 PageID #:
                                    7004
Case 1:22-cv-02234-EK-LB   Document 113 Filed 10/31/24   Page 5 of 5 PageID #:
                                    7005
